            Case 3:25-cv-01780-WHA              Document 168           Filed 03/31/25   Page 1 of 5




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                                  UNITED STATES DISTRICT COURT
16                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
17
18                                                           Case No. 3:25-cv-1780-WHA
     AMERICAN FEDERATION OF
19   GOVERNMENT EMPLOYEES, et al.
                                                             DEFENDANTS’ RESPONSE TO
20            Plaintiffs,                                    PLAINTIFFS’ MOTION TO COMPEL
21                                                           COMPLIANCE WITH PRELIMINARY
                      v.
                                                             INJUNCTION OR TO HOLD
22   UNITED STATES OFFICE OF PERSONNEL                       DEFENDANTS IN CONTEMPT
     MANAGEMENT, et al.,
23                                                           Hearing Date: April 9, 2025
               Defendants.                                   Time: 8:00 am
24
                                                             Judge: Hon. William H. Alsup
25                                                           Place: San Francisco Courthouse
                                                                    Courtroom 12
26
27
28


     Defendants’ Response to Plaintiffs’ Motion to Compel Compliance
     with Preliminary Injunction or to Hold Defendants in Contempt
     3:25-cv-1780-WHA
            Case 3:25-cv-01780-WHA              Document 168           Filed 03/31/25   Page 2 of 5




 1           This Court should deny Plaintiffs’ motion to compel compliance with this Court’s March
 2   13, 2025, preliminary injunction and decline to hold Defendants in contempt because Defendants
 3   have, at a minimum, substantially complied with the Court’s order by taking all reasonable steps
 4   to comply.
 5           This Court’s March 13, 2025, preliminary injunction required the Departments of
 6   Agriculture, Defense, Energy, the Interior, the Treasury, and Veterans Affairs to:
 7           (1) immediately offer reinstatement to any and all probationary employees terminated on
                 or about February 13th and 14th, 2025.
 8
     Tr. of Mar. 13, 2025, Hrg. at 52:7-10, 53:17-25, ECF No. 120;
 9
             (2) immediately advise all probationary employees terminated on or about February 13
10               and 14 that the notice and termination have been found to be unlawful by the United
                 States District Court for the Northern District of California.”
11
     Id. at 52:14-21, 53:17-25; and
12
13           (3) submit a list of all probationary employees terminated on or about February 13th and
                 14th with an explanation as to each of what has been done to comply with this order.
14   Id. at 53:13-16.
15           On March 20, 2025, Defendants filed under seal lists of “all probationary employees
16   terminated” as a result of the OPM guidance this Court has determined was unlawful. See
17   Admin. Mot to File Agency Lists of Employees Under Seal, ECF No. 143. Defendants also
18   included explanations as to what each agency had done to comply with the Court’s order: to
19   “immediately offer reinstatement” to any and all probationary employees terminated on or about
20   February 13 or 14, 2025; and to “immediately advise all probationary employees” terminated on
21   or about February 13 and 14 that the notice and termination have been found to be unlawful by
22   the United States District Court for the Northern District of California. See Not. of Filing Certain
23   Agency Declarations & Redacted Lists of Agency Emps., ECF No. 144. Those filings
24   demonstrated the steps that each agency had undertaken to immediately comply with the Court’s
25   orders. These steps typically included notifying each employee of the Court’s order and offering
26   to reinstate each employee. As a general matter, agencies immediately placed employees who
27   accepted the offer of reinstatement on paid leave and began the process to fully reinstate each
28   employee, including providing new identification and access badges, equipment, office

     Defendants’ Response to Plaintiffs’ Motion to Compel Compliance
     with Preliminary Injunction or to Hold Defendants in Contempt
     3:25-cv-1780-WHA
                                                             1
            Case 3:25-cv-01780-WHA              Document 168           Filed 03/31/25   Page 3 of 5




 1   assignment, and meaningful work assignments. See, e.g., Decl. of Reesha Trznadel ¶¶ 4-9, ECF
 2   No. 139-3; Decl. of Mary Rice, ¶¶ 4-9, ECF No. 139-3. 1
 3           First, this Court should reject Plaintiffs’ contention that Defendants have not complied
 4   with this Court’s order because each agency had not returned each employee who accepted an
 5   offer of reinstatement to full duty status by March 13, 2025. See Pls.’ Mem. in Supp. of Mot. to
 6   Compel at 8-10. This Court did not order each employee to be immediately returned to full duty
 7   status by March 13. To the contrary, it ordered each of these six agencies to “immediately offer
 8   reinstatement to any and all probationary employees terminated on or about February 13th and
 9   14th, 2025.” Tr. of March 13, 2025, Hrg. at 52:7-10, 53:17-25. Each Defendant covered by the
10   preliminary injunction has complied with that order.
11           Second, Plaintiffs’ complaints about the placement of probationary employees on
12   administrative leave lack merit. As Defendants have previously demonstrated, each agency’s
13   placement of employees on administrative leave is merely a first step in the process of returning
14   them to full duty status. See Resp. to Ct.’s Third Request for Info., at 1-2, ECF No. 139.
15   Plaintiffs also ignore the realities of the steps that each agency must undertake to return each
16   probationary employee who accepted the agency’s offer to return to work and the time that it
17   takes to undertake those steps. See, e.g., Trznadel Decl. ¶¶ 4-9.
18           Finally, this Court should also reject Plaintiffs’ contention that Defendants have not
19   complied with the Court’s order to immediately provide notice to all “probationary employees
20   terminated” that the Court had found their terminations to be unlawful. See Pls.’ Mem. in Supp.
21   of Mot. to Compel at 10. Plaintiffs complain that some agencies initially provided notice of the
22   Court’s ruling via press release. See id. As an initial matter, constructive notice of the Court’s
23   order is legally sufficient. See, e.g., United States v. Signed Pers. Check No. 730 of Yubran S.
24   Mesle, 615 F.3d 1085, 1092 (9th Cir. 2010) (noting that defendant’s conduct is measured by
25
             1
               Declarations filed in Maryland v. U.S. Dep’t of Agric., No. 1:25-cv-0748 (D. Md.)
26   (“Maryland v. USDA”), also demonstrate that the agencies have continued to make progress
     since their March 17, 2025, filings. See Maryland v. USDA, ECF No. 103-1 at 2, ¶¶ 4-7 (USDA
27
     declaration attesting to Phases 1-4; by Phase 2, March 31, 2025, approximately 2400 employees
28   will be returned to duty status); id., ECF No. 103-1, at 11-12 ¶¶ 4-8 (Energy declaration attesting
     that approximately 480 employees will be “reonboard[ed]” by March 31, 2025).
     Defendants’ Response to Plaintiffs’ Motion to Compel Compliance
     with Preliminary Injunction or to Hold Defendants in Contempt
     3:25-cv-1780-WHA
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            Case 3:25-cv-01780-WHA              Document 168           Filed 03/31/25   Page 4 of 5




 1   “actual or constructive notice”); Cent. States, SE & SW Areas Health & Welfare & Pension
 2   Funds v. Transcon Lines, No. 90-cv-1853, 1995 WL 472705, at *8 (N.D. Ill. Aug. 8, 1995)
 3   (“[W]e hold that constructive notice, namely, less than actual knowledge but awareness of facts
 4   sufficient to cause a reasonable person to inquire further, is adequate notice to a corporate officer
 5   of the existence of a court order to satisfy due process.”). In any event, as the filings attached to
 6   this response, and to Defendants’ accompanying motion to file under seal indicate, those
 7   agencies have continued to work to provide actual notice to each employee in addition to
 8   offering reinstatement and working to return employees to duty status. Specifically, with this
 9   motion, Defendants submit for the Court:
10           1. U.S. Department of Defense’s declaration, identifying additional steps taken; to
11   subsequently identify probationary employees terminated subsequent to the OPM guidance
12   beyond those employees terminated on February 13, 2025; to offer reinstatement to these
13   employees; and return these employees to duty status.
14           2. U.S. Department of Defense’s list of terminated probationary employees that it
15   subsequently identified were terminated subsequent to the OPM guidance and steps taken as to
16   each employee. An unredacted version of this list is being submitted under seal.
17           3. U.S. Department of Veterans Affairs’ updated list of steps taken to offer reinstatement
18   to terminated probationary employees and return these employees to duty status. An unredacted
19   version of this list is being submitted under seal.
20           4. U.S. Department of the Interior’s updated list of steps taken to offer reinstatement to
21   terminated probationary employees and return these employees to duty status. An unredacted
22   version of this list is being submitted under seal.
23           5. U.S. Department of Treasury’s declaration, identifying additional steps taken to offer
24   probationary employees reinstatement and return these employees to duty status as well as a
25   further explanation of administrative measures need to return employees to duty status.
26           6. U.S. Department of Energy’s declaration, identifying additional steps taken to offer
27   probationary employees reinstatement and return these employees to duty status as well as a
28   further explanation of administrative measures need to return employees to duty status.


     Defendants’ Response to Plaintiffs’ Motion to Compel Compliance
     with Preliminary Injunction or to Hold Defendants in Contempt
     3:25-cv-1780-WHA
                                                             3
            Case 3:25-cv-01780-WHA              Document 168           Filed 03/31/25   Page 5 of 5




 1           7. U.S. Department of Agriculture’s declaration, identifying additional steps taken to
 2   offer probationary employees reinstatement and return these employees to duty status as well as
 3   a further explanation of administrative measures need to return employees to duty status.
 4           Plaintiffs thus fail to demonstrate that Defendants have not complied with this Court’s
 5   preliminary injunction and also fail to demonstrate that civil contempt is warranted.
 6                                                CONCLUSION
 7           This Court should deny Plaintiffs’ motion to compel compliance with the Court’s March
 8   13, 2025, preliminary injunction.
 9   Dated: March 31, 2025                             Respectfully submitted,
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     3:25-cv-1780-WHA
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